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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:16-CV-61729-DPG


  SYMBOLOGY INNOVATIONS, LLC,                        )
                                                     )      JURY TRIAL DEMANDED
                Plaintiff and Counterclaim-          )
                Defendant,                           )
                                                     )
       v.                                            )
                                                     )
  BROTHER INTERNATIONAL
                                                     )
  CORPORATION,
                                                     )
                Defendant and Counterclaim-          )
                Plaintiff.                           )
                                                     )


           DEFENDANT BROTHER INTERNATIONAL CORPORATION’S
      ANSWER, AFFIRMATIVE DEFENSES AND COUNTERCLAIM TO PLAINTIFF’S
                   COMPLAINT OF PATENT INFRINGEMENT

                  Defendant Brother International Corporation (“Brother”) hereby answers the

  Complaint of Plaintiff Symbology Innovations, LLC (“Symbology” or “Plaintiff”) as follows:

                             PARTIES, JURISDICTION AND VENUE1

                  1.      Brother admits that Plaintiff has filed a complaint for patent infringement

  but denies that Plaintiff’s cause of action is valid and that Plaintiff is entitled to injunctive relief

  or damages.

                  2.      Brother admits that Plaintiff purports to base jurisdiction pursuant to 28

  U.S.C. §§ 1331 and 1338(a).

                  3.      Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 3 and therefore denies the same.


  1
      For convenience and clarity, Brother’s Answer uses the same headings as set forth in the Complaint.
  In so doing, Brother does not admit any of the allegations contained in Plaintiff’s headings.
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                 4.      Admitted.

                 5.      Paragraph 5 of the Complaint contains conclusions of law to which no

  response is required. To the extent that an answer is required, Brother denies it has committed

  any act of infringement. Brother admits that it conducts business in the state of Florida, but

  denies a cause of action for patent infringement has arisen as a result of its activities. Brother is

  without knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations in Paragraph 5 of the Complaint and therefore denies the same.

                 6.      Brother has insufficient knowledge or information to form a belief as to

  the allegations of Paragraph 6 of the Complaint and therefore denies the same.

                 7.      Paragraph 7 of the Complaint contains conclusions of law to which no

  response is required. To the extent an answer is required, Brother admits that Plaintiff purports to

  base venue under 28 U.S.C. §§ 1391(c) and 1400(b), but denies that this District is the most

  convenient venue for adjudication of the claims raised by Plaintiff in this action. Brother denies

  it has committed any act of infringement in this District. Brother is without knowledge or

  information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 7

  of the Complaint and therefore denies the same.

                                            COUNT I
                        (Alleged Infringement of U.S. Patent No. 8,424,752)

                 8.      Brother incorporates Paragraphs 1 through 7 of the Answer herein by

  reference.

                 9.      Brother admits that Plaintiff has filed a cause of action under the patent

  laws of the United States and, in particular, under 35 U.S.C. §§ 271, et seq. but denies that the

  cause of action is valid.




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                 10.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 10 of the Complaint and therefore denies the same.

                 11.    Brother admits that a purported copy of the ’752 Patent has been attached

  to the Complaint and admits that, on its face, the purported copy of the ’752 Patent is titled

  “System And Method For Presenting Information About An Object On A Portable Electronic

  Device.” Brother lacks knowledge sufficient to confirm or deny if the document attached as

  Exhibit A is a true and correct copy of the ’752 Patent. Brother otherwise denies the remaining

  allegations in Paragraph 11 of the Complaint.

                 12.    Brother denies that the ’752 Patent is valid and enforceable. As to the

  remaining allegations of Paragraph 12 of the Complaint, Brother has insufficient knowledge or

  information to form a belief and therefore denies the same.

                 13.    Denied.

                 14.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 14 of the Complaint and therefore denies the same.

                 15.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 15 of the Complaint and therefore denies the same.

                 16.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 16 of the Complaint and therefore denies the same.

                 17.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 17 of the Complaint and therefore denies the same.

                 18.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 18 of the Complaint and therefore denies the same.




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                 19.     Brother denies that Plaintiff is entitled to injunctive relief. As to the

  remaining allegations of Paragraph 19 of the Complaint, Brother has insufficient knowledge or

  information to form a belief and therefore denies the same.

                 20.     Denied.

                 21.     Denied.

                                           COUNT II
                        (Alleged Infringement of U.S. Patent No. 8,651,369)

                 22.     Brother incorporates paragraphs 1 through 7 herein by reference.

                 23.     Brother admits that Plaintiff has filed a cause of action under the patent

  laws of the United States and, in particular, under 35 U.S.C. §§ 271, et seq. but denies that the

  cause of action is valid.

                 24.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 24 of the Complaint and therefore denies the same.

                 25.     Brother admits that a purported copy of the ’369 Patent has been attached

  to the Complaint and admits that, on its face, the purported copy of the ’369 Patent is titled

  “System And Method For Presenting Information About An Object On A Portable Electronic

  Device.” Brother lacks knowledge sufficient to confirm or deny if the document attached as

  Exhibit B is a true and correct copy of the ’369 Patent. Brother otherwise denies the remaining

  allegations in Paragraph 25 of the Complaint.

                 26.     Brother denies that the ’369 Patent is valid and enforceable. As to the

  remaining allegations of Paragraph 26 of the Complaint, Brother has insufficient knowledge or

  information to form a belief and therefore denies the same.

                 27.     Denied.




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                 28.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 28 of the Complaint and therefore denies the same.

                 29.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 29 of the Complaint and therefore denies the same.

                 30.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 30 of the Complaint and therefore denies the same.

                 31.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 31 of the Complaint and therefore denies the same.

                 32.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 32 of the Complaint and therefore denies the same.

                 33.     Brother denies that Plaintiff is entitled to injunctive relief. As to the

  remaining allegations of Paragraph 33 of the Complaint, Brother has insufficient knowledge or

  information to form a belief and therefore denies the same.

                 34.     Denied.

                 35.     Denied.

                                           COUNT III
                        (Alleged Infringement of U.S. Patent No. 8,936,190)

                 36.     Brother incorporates paragraphs 1 through 7 herein by reference.

                 37.     Brother admits that Plaintiff has filed a cause of action under the patent

  laws of the United States and, in particular, under 35 U.S.C. §§ 271, et seq. but denies that the

  cause of action is valid.

                 38.     Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 38 of the Complaint and therefore denies the same.




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                 39.    Brother admits that a purported copy of the ’190 Patent has been attached

  to the Complaint and admits that, on its face, the purported copy of the ’190 Patent is titled

  “System And Method For Presenting Information About An Object On A Portable Electronic

  Device.” Brother lacks knowledge sufficient to confirm or deny if the document attached as

  Exhibit C is a true and correct copy of the ’190 Patent. Brother otherwise denies the remaining

  allegations in Paragraph 39 of the Complaint.

                 40.    Brother denies that the ’190 Patent is valid and enforceable. As to the

  remaining allegations of Paragraph 40 of the Complaint, Brother has insufficient knowledge or

  information to form a belief and therefore denies the same.

                 41.    Denied.

                 42.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 42 of the Complaint and therefore denies the same.

                 43.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 43 of the Complaint and therefore denies the same.

                 44.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 44 of the Complaint and therefore denies the same.

                 45.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 45 of the Complaint and therefore denies the same.

                 46.    Brother has insufficient knowledge or information to form a belief as to

  the allegations in Paragraph 46 of the Complaint and therefore denies the same.

                 47.    Brother denies that Plaintiff is entitled to injunctive relief. As to the

  remaining allegations of Paragraph 47 of the Complaint, Brother has insufficient knowledge or

  information to form a belief and therefore denies the same.

                 48.    Denied.

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                 49.     Denied.

                        PLAINTIFF’S ALLEGED PRAYER FOR RELIEF

                 Brother denies that Plaintiff is entitled to any of the relief requested against

  Brother in Paragraphs (a) through (e) on page 12 of the Complaint.

                                           JURY DEMAND

                 Brother acknowledges that Plaintiff purports to demand a trial by jury on all

  claims so allegedly triable.

                                      ADDITIONAL DEFENSES

                 Further answering the Complaint, Brother asserts the following defenses in

  response to the allegations in the Complaint, undertaking the burden of proof only as to those

  defenses required by law, regardless of how such defenses are denominated herein. Brother

  reserves the right to assert additional defenses that become known through the course of

  discovery and further litigation in this action.

                                   FIRST ADDITIONAL DEFENSE
                                         (Non-Infringement)

                 50.     Brother has not and does not infringe, contribute to the infringement of, or

  induce the infringement of any valid claim of the ’752, ’369, and ’190 Patents (the “Asserted

  Patents”), either literally or under the doctrine of equivalents, and is not liable for infringement

  thereof.

                 51.     The Accused Functionality operates in a different manner than the claimed

  subject matter and does not meet each and every limitation of any claim of the Asserted Patents.

                 52.     Plaintiff’s Complaint fails to allege indirect infringement, including

  sufficient allegations of knowledge.




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                               SECOND ADDITIONAL DEFENSE
                                       (Invalidity)

                 53.    The claims of the ’752, ’369, and ’190 Patents are invalid and void for, at

  least, failure to meet the conditions for patentability set forth in 35 U.S.C. §§ 101 et seq., and

  more particularly, failure to comply with the requirements of 35 U.S.C. §§ 102, 103 and 112.

                 54.    At least the art of record during the prosecution of the applications leading

  to the Asserted Patents, as well as the BarPoint.com system, U.S. Patent No. 6,430,554, and U.S.

  Patent No. 6,651,053 render each claim of the Asserted Patents invalid under 35 U.S.C. §§ 102,

  103 because they disclose prior art bar code systems that fully describe the subject matter

  claimed by the Asserted Patents. Upon information and belief, additional relevant prior art also

  renders each claim of the Asserted Patents invalid.

                 55.    One or more claims of the Asserted Patents are invalid under 35 U.S.C. §

  112 for indefiniteness and non-enablement because they recite terms whose meaning would not

  be reasonably certain to one of ordinary skill in the art and because the specification does not

  provide an adequate description to enable one of ordinary skill in the art to practice the claimed

  invention.

                                THIRD ADDITIONAL DEFENSE
                                    (Inequitable Conduct)

                 56.    Plaintiff’s attempted enforcement of the ’752, ’369, and ’190 Patents

  against Brother is barred by the doctrine of inequitable conduct.

                 57.    Upon information and belief, the named inventor of the Asserted Patents,

  Leigh Rothschild, was also the founder, chairman, and CEO of BarPoint.com. Similar to the

  subject matter of the Asserted Patents, BarPoint.com’s primary technology, which Leigh

  Rothschild appears to have developed, involved the scanning of barcodes with a handheld mobile

  device and transmitting decoded barcode information over the Internet to obtain product


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  information. Leigh Rothschild is listed as the sole inventor for at least three provisional

  applications disclosing the BarPoint.com system, including: U.S. Provisional No. 60/118,051,

  filed February 1, 1999 and titled “Interactive Method For Investigating Products”; (2) U.S.

  Provisional No. 60/187,646, filed March 8, 2000 and titled “Interactive Systems For

  Investigating Products On A Network Through A Mobile Device”; and (3) U.S. Provisional No.

  60/185,546, filed February 28, 2000 and titled “Method Of Verifying Barcode/UPC Numbers Or

  Other Symbologies And Linking Such Numbers To Information On A Global Computer

  Network.” Several non-provisional applications claiming priority to the above-listed provisional

  applications, each listing Leigh Rothschild as the sole inventor, were subsequently filed,

  including: (1) U.S. Patent No. 6,430,554, granted August 6, 2002, and (2) U.S. Patent No.

  6,651,053, granted November 18, 2003. Further, on June 30, 2006, Mr. Rothschild filed U.S.

  Patent Application 2008/0004978, which was subsequently published on January 3, 2008.

                 58.     Upon information and belief, the BarPoint.com system, the ’051

  Provisional, ’646 Provisional, ’546 Provisional, ’554 Patent, ’053 Patent, or ’978 Application are

  all prior art to the Asserted Patents. However, neither the named inventor of the Asserted Patents,

  Leigh Rothschild, his assignee Reagan Inventions, LLC, nor their representative disclosed this

  prior art to the United States Patent & Trademark Office (“USPTO”) during the prosecution of

  the Asserted Patents, or the parent applications to the Asserted Patents.

                 59.     Upon information and belief, Leigh Rothschild, his assignee Reagan

  Inventions, LLC, and their representative had material knowledge of this non-cumulative prior

  art regarding the Asserted Patents and, on information and belief, deliberately withheld this

  knowledge from the USPTO during prosecution to deceive the examiner and to obtain issuance

  of the Asserted Patents.



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                  60.     Upon information and belief, Leigh Rothschild, his assignee Reagan

   Inventions, LLC, and their representative had intent to deceive the USPTO by failing to disclose

   the BarPoint.com system, which Mr. Rothschild had been instrumental in developing, as well as

   the ’051 Provisional, ’646 Provisional, ’546 Provisional, ’554 Patent, ’053 Patent, or ’978

   Application, which describe the BarPoint.com system and the same technological subject matter

   claimed in the Asserted Patents.

                  61.     All claims of the Asserted Patents are unenforceable due to inequitable

   conduct because one or more of the individuals referenced above, with the intent to deceive the

   USPTO, failed to comply with the duty of candor to the USPTO, as set forth in 37 C.F.R. § 1.56,

   during prosecution of the applications that led to the issuance of the Asserted Patents.

                                FOURTH ADDITIONAL DEFENSE
                                     (Patent Ineligibility)

                  62.     All claims of the ’752, ’369, and ’190 Patents are patent ineligible under

   35 U.S.C. § 101, as explained in Alice Corp. v. CLS Bank Int’l, 134 S. Ct. 2347 (2014) and its

   progeny.

                  63.     In particular, each claim of the Asserted Patents recites the patent

   ineligible abstract ideas of sending information over the Internet and Internet commerce.

                  64.     The remaining limitations of the claims either describe generic computer

   components or routine and conventional activity and are nothing more than improper attempts to

   limit the claims to the field of computers and Internet commerce.

                  65.     The recitations of the claims do not solve a problem unique to or

   necessarily arising from the use of computers or the Internet.




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                   66.   The claims recite nothing more than abstract ideas—here, sending

   information over the Internet and Internet commerce—and the instruction to “apply it” using

   computers and the Internet.

                   67.   The claims of the Asserted Patents attempt to preempt the field of Internet

   commerce and barcodes through the generic recitation of computer components and the Internet

   and the vague recitation of terms like “symbology” and “decode string.”

                                  FIFTH ADDITIONAL DEFENSE
                                     (Limitations on Damages)

                   68.   Plaintiff’s Complaint fails to state a claim against Brother upon which

   relief may be granted. Further, Plaintiff’s ability to recover damages under 35 U.S.C. §§ 286-287

   is limited.

                   69.   Plaintiff fails in its Complaint to identify any products or services that it

   alleges embody the Asserted Patents and were properly marked with the Asserted Patents.

                   70.   Upon information and belief, the prior art BarCode.com system embodied

   the Asserted Patents and was not marked with one or more of the Asserted Patents or their patent

   applications.

                   71.   To the extent Plaintiff seeks damages for any alleged infringement

   committed more than six years prior to the filing date of the complaint, its ability to recover

   damages is barred by 35 U.S.C. § 286.

                                 SIXTH ADDITIONAL DEFENSE
                                   (Prosecution History Estoppel)

                   72.   Under the doctrine of prosecution history estoppel, Plaintiff is estopped

   from asserting the doctrine of equivalents as to the arguments and/or amendments made to obtain

   allowance of the patent applications that issued as the ’752, ’369, and ’190 Patents.



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                    73.   In particular, Plaintiff is estopped at least with respect to the art of record,

   such as U.S. App. No. 2007/021626, U.S. App. No. 2007/0291534, U.S. App. No.

   2008/0201310, U.S. App. No. 2009/0099961, U.S. App. No. 2010/0280896, and U.S. App. No.

   2010/0280960, from asserting the doctrine of equivalents with respect to certain limitations of

   the claims of the Asserted Patents that were amended or the subject of arguments to obtain

   allowance during prosecution—e.g., the limitation “detecting symbology.”

                    74.   Plaintiff has waived any equivalents for any limitation, such as the

   limitation “detecting symbology,” that was the subject of an argument that distinguished prior art

   or a rejection under 35 U.S.C. § 112.

                               SEVENTH ADDITIONAL DEFENSE
                      (Acquiescence, Unclean Hands, Estoppel, Laches, Waiver)

                    75.   Plaintiff’s claims are barred in whole or in part pursuant to the doctrines of

   acquiescence, unclean hands, laches, estoppels, and/or waiver.

                    76.   Brother incorporates by reference the allegations made in Paragraphs in

   56-61 of the Answer.

                    77.   Plaintiff’s claims are barred by the doctrine of unclean hands for the same

   reasons they are barred by the doctrine of inequitable conduct.

                    78.   The ’752 Patent granted on April 23, 2013, yet Plaintiff waited over three

   years to bring suit against Brother. As such, Plaintiff’s delay in bringing suit is inexcusable.

                    79.   Upon information and belief, neither Mr. Rothschild nor his representative

   had previously approached Brother about any alleged infringement of the Asserted Patents or

   any other patent listing Leigh Rothschild as the named inventor and reciting subject matter

   substantially similar to the Asserted Patents, such as U.S. Patent No. 6,430,554, and U.S. Patent

   No. 6,651,053.


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                   80.    To the extent the Asserted Patents cover the Accused Functionality, non-

   infringing alternatives to subject matter claimed in the Asserted Patents exist, and if Plaintiff had

   been diligent in informing Brother of any alleged infringement, Brother could have easily

   substituted one of the non-infringing alternatives for the Accused Functionality.

                                 EIGHTH ADDITIONAL DEFENSE
                                      (Limitations on Costs)

                   81.    Plaintiff is precluded from recovering costs under 35 U.S.C. § 288.

                   82.    Brother incorporates by reference Paragraphs 53-55 and 62-67 of the

   Answer.

                   83.    One or more claims of the Asserted Patents are invalid under 35 U.S.C. §§

   101, 102, 103, and/or 112. Upon information and belief, Plaintiff has not disclaimed these

   invalid claims before the commencement of the present litigation.

                   84.    As such, Plaintiff may not recover costs under 35 U.S.C. § 288.

                                  NINTH ADDITIONAL DEFENSE
                                        (Failure to Mark)

                   85.    On information and belief, Plaintiff has failed to mark or cause to be

   marked patented articles with the numbers of the ’752, ’369, and ’190 Patents.

                   86.    Plaintiff fails in its Complaint to identify any products or services that it

   alleges embody the Asserted Patents and were properly marked with the Asserted Patents.

                   87.    Upon information and belief, the prior art BarCode.com system embodied

   the Asserted Patents and was not marked with one or more of the Asserted Patents or their patent

   applications.

                   88.    Further, to the extent Plaintiff makes or sells any additional services, upon

   information and belief these services are not properly marked with the Asserted Patents.



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                  89.    35 U.S.C. § 287 precludes Plaintiff from recovering any damages for

   alleged infringement, if any, that occurred prior to the time it provided the required notice to

   Brother.

                                   TENTH ADDITIONAL DEFENSE
                                  (No Entitlement to Injunctive Relief)

                  90.     Plaintiff is not entitled to injunctive relief because, at a minimum, any

   alleged injury to it is not immediate or irreparable, Plaintiff has an adequate remedy at law for

   any claims it can prove, and an injunction would not serve the public interest.

                  91.    Upon information and belief, Plaintiff’s main business is in the assertion

   of patents against companies who sell actual products.

                  92.    Plaintiff has not sought a preliminary injunction.

                  93.    The public interest would be harmed if the Accused Functionality were

   enjoined, as such functionality is related to products bought by consumers.

                  94.    Plaintiff delayed in bringing suit against Brother for over three years, even

   the ’752 Patent granted on April 23, 2013.

                                       ELEVENTH DEFENSE
                                      (No Indirect Infringement)

                  95.    Plaintiff’s Complaint fails to allege indirect infringement of the ’752,

   ’369, and ’190 Patents. To the extent Plaintiff contends that it alleges a claim for indirect

   infringement (whether by inducement or contributorily), Plaintiff has failed to state a claim upon

   which relief can be granted.

                  96.    Plaintiffs’ Complaint seeks relief for “infringement,” but Plaintiff does not

   specifically seek relief for any type of indirect infringement, nor does Plaintiff allege that

   Brother had knowledge of the Asserted Patents or knowledge of any alleged infringing acts.



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                                            COUNTERCLAIMS

                  For its Counterclaim against Symbology, Brother states as follows:

                                                 PARTIES

                  1.      Brother is a corporation organized and existing under the laws of the State

   of Delaware, with its principal place of business in Bridgewater, New Jersey.

                  2.      Symbology has alleged that it is a limited liability company with its

   principal office located at 1400 Preston Road, Suite 400, Plano, Texas 75093.

                                      NATURE OF THE ACTION

                  3.      According to the allegations set forth in the Complaint, Symbology claims

   to be the owner of all rights, titles, and interests to the ’752, ’369, and ’190 Patents, including the

   rights to sue and recover for infringement.

                  4.      Symbology has accused Brother of infringing one or more claims of the

   ’752, ’369, and ’190 Patents. Brother denies that any of its products infringe any valid or

   enforceable claim of the ’752, ’369, and ’190 Patents and that it is liable for any infringement.

                  5.      An actual case and controversy exists between Brother and Symbology

   concerning infringement of one or more claims of the ’752, ’369, and ’190 Patents, and that

   controversy is ripe for adjudications.

                  6.      The instant action is an “exceptional case” under 35. U.S.C. § 285,

   entitling Brother to an award of attorney’s fees, because Plaintiff is knowingly asserting an

   invalid and unenforceable patent.

                                    JURISDICTION AND VENUE

                  7.      These Counterclaims arise under the Patent Act of 1952 and the

   Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202. This Court has subject matter jurisdiction

   over these Counterclaims pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201(a) and 2202.


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                  8.      To the extent the Court finds that venue is proper in this judicial district

   for Symbology’s claims, venue is proper under 28 U.S.C. §§ 1391 and 1400(b) for Brother’s

   Counterclaims.

                  9.      This Court has personal jurisdiction over Symbology. Symbology has

   purposefully availed itself of this Court’s jurisdiction by filing the instant Complaint alleging

   patent infringement by Brother.

                                               COUNT I
                                   (Declaration of Non-Infringement)

                  10.     Brother repeats and incorporates by reference the allegations in

   Paragraphs 1 through 9 of the Counterclaims as though fully set forth herein.

                  11.     Brother has not and does not infringe, contribute to the infringement of, or

   induce the infringement of any valid and enforceable claim of the ’752, ’369, and ’190 Patents,

   either literally or under the doctrine of equivalents.

                  12.     Brother does not have the requisite knowledge, either of the ’752, ’369,

   and ’190 Patents or of any alleged acts of infringement, to be liable for induced infringement or

   contributory infringement of any valid and enforceable claim of the ’752, ’369, and ’190 Patents.

                  13.     By reason of the foregoing, a conflict of asserted rights has arisen and a

   justiciable controversy exists between Symbology and Brother with regard to the allegations of

   infringement of ’752, ’369, and ’190 Patents.

                  14.     Brother hereby requests a declaratory judgment adjudicating its rights with

   respect to the non-infringement of the ’752, ’369, and ’190 Patents.

                                              COUNT II
                                       (Declaration of Invalidity)

                  15.     Brother repeats and incorporates by reference the allegations in

   Paragraphs 1 through 9 of the Counterclaims as though fully set forth herein.

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                  16.    The ’752, ’369, and ’190 Patents are invalid and void against Brother for,

   at least, failure to comply with the requirements of 35 U.S.C. §§ 101, 102, 103, and/or 112.

                  17.    At least the art of record during prosecution of the Asserted Patents, as

   well as the BarPoint.com system, U.S. Patent No. 6,430,554, and U.S. Patent No. 6,651,053

   render each claim of the Asserted Patents invalid under 35 U.S.C. §§ 102, 103 because they

   disclose prior art bar code systems that fully describe the subject matter claimed by the Asserted

   Patents. Upon information and belief, additional relevant prior art also renders each claim of the

   Asserted Patents invalid.

                  18.    One or more claims of the Asserted Patents are invalid under 35 U.S.C. §

   112 for indefiniteness and non-enablement because they recite terms whose meaning would not

   be reasonably certain to one of ordinary skill in the art and because the specification does not

   provide an adequate description to enable one of ordinary skill in the art to practice the claimed

   invention.

                  19.    Each claim of the Asserted Patents recites the patent ineligible abstract

   ideas of sending information over the Internet and Internet commerce.

                  20.    The remaining limitations of the claims either describe generic computer

   components or routine and conventional activity and are nothing more than improper attempts to

   limit the claims to the field of computers and Internet commerce.

                  21.    The recitations of the claims do not solve a problem unique to or

   necessarily arising from the use of computers of the Internet.

                  22.    The claims recite nothing more than an abstract ideas—here, sending

   information over the Internet and Internet commerce—and the instruction to “apply it” using

   computers and the Internet.



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                  23.     The claims of the Asserted Patents attempt to preempt the field of Internet

   commerce and barcodes through the generic recitation of computer components and the Internet

   and the vague recitation of terms like “symbology” and “decode string.”

                  24.     By reason of the foregoing, a conflict of asserted rights has arisen and a

   justiciable controversy exists between Symbology and Brother with regard to the allegations of

   invalidity of the ’752, ’369, and ’190 Patents.

                  25.     Brother hereby requests a declaratory judgment adjudicating its rights with

   respect to the invalidity of the ’752, ’369, and ’190 Patents.

                                           COUNT III
                     (Declaration of Unenforceability for Inequitable Conduct)

                  26.     Brother repeats and incorporates by reference the allegations in

   Paragraphs 1 through 17 of the Counterclaims as though fully set forth herein.

                  27.     Because Symbology has filed this action and because of the allegations in

   Brother’s Third Additional Defense, an actual controversy has arisen and now exists between the

   parties as to the enforceability of the claims of the ’752, ’369, and ’190 Patents (the “Asserted

   Patents”).

                  28.     The named inventor, Leigh Rothschild, his assignee Reagan Inventions,

   LLC, and their representative had material knowledge of non-cumulative prior art regarding the

   Asserted Patents and, on information and belief, deliberately withheld this knowledge from the

   USPTO during prosecution to deceive the examiner and to obtain issuance of the Asserted

   Patents.

                  29.     Upon information and belief, the named inventor of the Asserted Patents,

   Leigh Rothschild, was also the founder, chairman, and CEO of BarPoint.com. Similar to the

   subject matter of the Asserted Patents, BarPoint.com’s primary technology, which Leigh


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   Rothschild appears to have developed, involved the scanning of barcodes with a handheld mobile

   device and transmitting decoded barcode information over the Internet to obtain product

   information.

                  30.     Upon information and belief, the BarPoint.com system was publicly

   known, offered for sale, and/or used before the invention date of the Asserted Patents. However,

   neither Leigh Rothschild, his assignee Reagan Inventions, LLC, nor their representative

   disclosed the existence of the BarPoint.com system to the USPTO during the prosecution of the

   Asserted Patents, or the parent applications to the Asserted Patents.

                  31.     Leigh Rothschild is listed as the sole inventor for at least three provisional

   applications disclosing the BarPoint.com system, including: U.S. Provisional No. 60/118,051,

   filed February 1, 1999 and titled “Interactive Method For Investigating Products”; (2) U.S.

   Provisional No. 60/187,646, filed March 8, 2000 and titled “Interactive Systems For

   Investigating Products On A Network Through A Mobile Device”; and (3) U.S. Provisional No.

   60/185,546, filed February 28, 2000 and titled “Method Of Verifying Barcode/UPC Numbers Or

   Other Symbologies And Linking Such Numbers To Information On A Global Computer

   Network.” Several non-provisional applications claiming priority to the above-listed provisional

   applications, each listing Leigh Rothschild as the sole inventor, were subsequently filed,

   including: (1) U.S. Patent No. 6,430,554, granted August 6, 2002, and (2) U.S. Patent No.

   6,651,053, granted November 18, 2003. Further, on June 30, 2006, Mr. Rothschild filed U.S.

   Patent Application 2008/0004978, which was subsequently published on January 3, 2008.

                  32.     The ’051 Provisional, ’646 Provisional, ’546 Provisional, ’554 Patent,

   ’053 Patent, or ’978 Application (the “Rothschild Patents”) are all prior art to the Asserted

   Patents. However, neither Leigh Rothschild, his assignee Reagan Inventions, LLC, nor their



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   representative disclosed the Rothschild Patents to the USPTO during the prosecution of the

   Asserted Patents, or the parent applications to the Asserted Patents.

                  33.      The BarPoint.com system and the Rothschild Patents are material to

   patentability to the claims of the Asserted Patents and not merely cumulative over the prior art of

   record.

                  34.      Upon information and belief, Leigh Rothschild, his assignee Reagan

   Inventions, LLC, and/or his representative knew of the BarPoint.com system and the Rothschild

   Patents at the time of filing and prosecution of the Asserted Patents, or the parent applications to

   the Asserted Patents.

                  35.      Had the BarPoint.com system and the Rothschild Patents been disclosed to

   the USPTO examiner, none of the allowed claims of the Asserted Patents would have granted.

                  36.      Upon information and belief, Leigh Rothschild, his assignee Reagan

   Inventions, LLC, and their representative had intent to deceive the USPTO by failing to disclose

   the BarPoint.com system, which Mr. Rothschild had been instrumental in developing, as well as

   the Rothschild Patents, which describe the BarPoint.com system and the same technological

   subject matter claimed in the Asserted Patents.

                  37.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et

   seq., Brother requests a declaration by the Court that all claims of the Asserted Patents are

   unenforceable due to inequitable conduct because one or more of the individuals referenced

   above, with the intent to deceive the USPTO, failed to comply with the duty of candor to the

   USPTO, as set forth in 37 C.F.R. § 1.56, during prosecution of the applications that led to the

   issuance of the Asserted Patents.




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                                       REQUEST FOR RELIEF

                    WHEREFORE, in response to Symbology’s Complaint and with respect to its

   own Counterclaims, Defendant Brother respectfully requests that this Court enter a Judgment

   and Order in its favor against Symbology as follows:

                    A.    Dismissing    with   prejudice   Symbology’s     Complaint    for   Patent

   Infringement and all claims asserted therein against Brother;

                    B.    Declaring that Brother has not and does not infringe, contribute to the

   infringement of, and/or induce the infringement of any valid claim of the ’752, ’369, and ’190

   Patents;

                    C.    Declaring that the accused Brother products have not and do not infringe,

   contribute to the infringement of, and/or induce the infringement of any valid claim of the ’752,

   ’369, and ’190 Patents;

                    D.    Preliminarily and permanently enjoining Symbology, its officers, agents,

   servants, employees and attorneys, and those persons in active concert or participation with them

   who receive actual notice by personal service or otherwise, from asserting or threatening to

   assert against Brother, its customers, potential customers or partners of Brother, or users of

   Brother’s products and services, any charge of infringement of the ’752, ’369, and ’190 Patents;

                    E.    Declaring that the claims of the ’752, ’369, and ’190 Patents are invalid

   and void;

                    F.    Declaring that the claims of the ’752, ’369, and ’190 Patents are

   unenforceable;

                    G.    Entering an award to Brother of its attorney fees and expenses under 35

   U.S.C. § 285;




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                 H.      Entering an award to Brother of costs incurred in connection with this

   action;

                 I.      Granting to Brother further relief as the Court may deem proper and

   equitable under the circumstances.




                                         JURY DEMAND

                 With respect to its Counterclaim, Brother hereby demands a jury trial on all issues

   so triable.



   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE




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          I HEREBY CERTIFY that on September 2, 2016 a true and correct copy of the foregoing

   document was filed with the Clerk of the Court. I also certify that the foregoing document is

   being served this day on all counsel of record identified on the attached Service List via

   transmission of Notices of Electronic Filing generated by CM/ECF or by email.


                                               /s/ Darrell Payne
                                               Darrell Payne




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                                           SERVICE LIST
                   Symbology Innovations, LLC V. Brother International Corporation
                                    Case No. 0:16-cv-61729-DPG
                       United States District Court, Southern District of Florida


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